









Dismissed and Memorandum Opinion filed June 12, 2003









Dismissed and Memorandum Opinion filed June 12, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-03-00571-CR

____________

&nbsp;

FREDY LEONEL ESCOBAR, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 228th District Court

Harris County, Texas

Trial
Court Cause No. 929,331

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of
robbery.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, on December 20, 2002, the trial court
sentenced appellant to confinement for six years in the Institutional Division
of the Texas Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Judgment rendered and Memorandum
Opinion filed June 12, 2003.

Panel consists of Chief Justice
Brister and Justices Fowler and Edelman. 

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





